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wEsTERN DISTRICT oF TENNESSEE ` ` '
Western Division 05 JU[_ 12 PH 5: fig
UNITED sTATEs oF AMERICA n-;»{; :.-:-1- ‘ ::‘-HJLD
CiEHi\', !\_ i=iCT COURT
_vs.. Case No. M§'PMM

ANTONIO PEGUES

 

ORDER APPOINTING COUNSEL PURSUANT TO
'I`HE CRIMINAL JUSTICE ACT

This Court has determined that the above'named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Accordingly,
the Couit makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
' The Federal Public Defender is appointed as counsel for the Defendant.

TYPE OF APPOINTMENT

ll 14
DONE and ORDERED in 167 Non;h Main, Memphis, this /O? day of July, 2005.

A/LMQ (/. grme

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Office

Assistant Federal Public Defender
Intake

ANTONIO PEGUES

Th|s doc\_ment entered on the docket shaetlr_\ co allanca
with Ru|e 55 andlor 32¢bl FHCrP on __LL§__CB

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CR-20228 Was distributed by faX, mail, or direct printing on
July 15, 2005 to the parties listed.

 

 

E. Greg Gilluly

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

